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              EXHIBIT C
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 1                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
 2                        CIVIL ACTION NO. 06-5774-SRC-MAS

 3
        INTERNATIONAL BROTHERHOOD                    MOTIONS
 4      OF TEAMSTERS LOCAL NO. 331
        HEALTH & WELFARE TRUST FUND,
 5      Individually and on behalf
        of those similarly situated,
 6

 7                    Plaintiffs,

 8              vs.

 9      SCHERING PLOUGH CORPORATION,

10                    Defendants.

11
                                         October 9, 2008
12                                       Newark, New Jersey

13

14
        BEFOR E:           HONORABLE STANLEY R. CHESLER, USDJ
15

16

17      Pursuant to Section 753 Title 28 United States Code, the
        following transcript is certified to be an accurate record
18      as taken stenographically in the above-entitled
        proceedings.
19

20
        JACQUELINE KASHMER
21      Official Court Reporter

22

23
                             JACQUELINE KASHMER, C.S.R.
24                             OFFICIAL COURT REPORTER
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                                                                                      16



 1      there was this over promotion, they were damaged. What

 2      they're saying is there was a misrepresentation.

 3              Now, your Honor's -- and that's what our case is.

 4      There were misrepresentations. Now, your Honor says, wait.

 5      As I understand your Honor, what you're saying is it's

 6      off-label promotion, that's not a misrepresentation.

 7              Well, your Honor, for two reasons I believe it is,

 8      specifically in the confines of our case. Number one, it

 9      is a fraud because the defendants are not supposed to be

10      doing it, and to quote a 1933 case, I believe it was

11      Frank," The ingenuity of man in creating different

12      contrivances for fraud is unlimited."

13              So, by driving these drugs into a much wider span of

14      patients, a much bigger patient pool, they jump up the

15      number of prescriptions and we end up paying for a lot of

16      prescriptions we would not otherwise have paid for. But

17      more directly, in a way that takes care of any of the

18      Court's problems through the hypothetical is that they

19      marketed these drugs, as we allege specifically, for

20      purposes where other drugs were cheaper and more

21      efficacious, and they knew it. Their own marketing

22      documents say that, we know this but market it anyway

23      because we're going to take a drug that if legitimately

24      prescribed, Temodar or Intron I should say, would be $25

25      million in revenue a year, because there's only two- to
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                                                                                      17



 1      3,000 legitimate patients for it and we're going to drive

 2      that to $318 million. Now, your Honor, they don't get

 3      there by accident.

 4              THE COURT: Okay. Now I will tell you, you're very

 5      good but mixing theory A with theory B is not going to get

 6      you there. Theory B is that they have, in fact, engaged in

 7      misrepresentations. That the misrepresentations were done

 8      in connection with off-label promotion doesn't change the

 9      fact that you are charging misrepresentations.

10              So, let me move on to the next question which I have

11      for you, which is, are you asserting that the conduct of

12      the defendants in this case, whether through

13      misrepresentation, through bribery or offering

14      blandishments to doctors to prescribe particular drugs,

15      through failing to disclose that their product is no more

16      efficacious than approved products, drove the market price

17      for those products higher than it otherwise would have been

18      and that, therefore, you are entitled to recover the

19      difference between the price which you paid for those

20      products and the price which those products would have sold

21      for if they had not been promoted by fraudulent means?

22              MR. GRYGIEL: Yes, your Honor.

23              THE COURT: Okay. So, you are asserting a

24      fraud-on-the-market theory. Correct?

25              MR. GRYGIEL: With respect, your Honor, I disagree.
